                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JULIO REYNOSO, LUIS GONZALEZ, and                        )
MANUEL GONZALEZ, on behalf of                            )
themselves and all other Plaintiffs similarly            )
situated, known and unknown,                             )
                                                         )
                        Plaintiffs,                      )
                                                         )
                v.                                       )       No. 13 cv 05004
                                                         )
MOTEL LLC, an Illinois Limited Liability                 )
Company, d/b/a MOTEL BAR, and HERBERT                    )       Judge Milton I. Shadur
GREENWALD, an individual,                                )
                                                         )       Magistrate Judge Jeffrey Cole
                        Defendants.                      )

    DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
                  MOTION FOR SUMMARY JUDGMENT

        The Defendants, Motel LLC (“Motel”), an Illinois Limited Liability Company d/b/a Motel

Bar, and Herbert Greenwald (“Greenwald”), an individual, by and through their attorneys, the Law

Offices of Robert J. Shelist, P.C., hereby submit their response in opposition to the motion for

summary judgment filed by the Plaintiffs, Julio Reynoso, Luis Gonzalez and Manuel Gonzalez.

                                          INTRODUCTION

        The Plaintiffs filed this case as a class action against the Defendants for unpaid overtime

wages, on their own behalf as well as all other persons similarly situated, under the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) and the Illinois Minimum Wage Law, 820 ILCS

§ 105/1, et seq. (“IMWL”). 1 In addition to compensatory damages, Plaintiffs are seeking liquidated

damages, statutory interest and attorney’s fees (Docket No. 1).




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          In their motion for summary judgment, Plaintiffs do not assert any claims on the behalf of a
purported class nor for any other potential claimants and seemingly have abandoned the class action.
       Plaintiffs now move for summary judgment. For the reasons contained herein, the motion

should be denied. At a minimum, the presence of contested fact issues should preclude summary

judgment. At most, summary judgment should be entered for the Plaintiffs and against Motel for

unpaid overtime wages due, as calculated by Defendants (see infra). The requests for liquidated

damages, interest and attorney’s fees, as well as any damages against Herbert Greenwald,

individually, should be denied.

           LEGAL STANDARD FOR MOTION FOR SUMMARY JUDGMENT

       Federal Rule of Civil Procedure 56(c) provides that summary judgment "shall be rendered

forthwith if the pleadings, depositions, answers to interrogatories, and admissions on file, together

with the affidavits, if any, show that there is no genuine issue as to any material fact and that the

moving party is entitled to a judgment as a matter of law." Celotex Corp. v. Catrett, 477 U.S. 317,

322, 106 S. Ct. 2548, 2552, 91 L.Ed.2d 265, 273 (1986). The moving party has the burden of

providing proper evidence to show the absence of a genuine issue of material fact. Id., 477 U.S. at

323-24, 106 S. Ct. at 2553, 265 L.Ed.2d at 274. The purpose of summary judgment is to assess the

proof in order to determine whether there is a need for a trial. Matsushita Elec. Indus. Co., Ltd. v.

Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 1355-56, 89 L.Ed.2d 538 (1986).

       All reasonable inferences to be drawn from the underlying facts are viewed in favor of the

party opposing a summary judgment motion. Id. In determining whether a genuine issue of material

fact exists, the court must consider the evidence in the light most favorable to the nonmoving party.

Adickes v. S.H. Kress & Co., 398 U.S. 144, 157, 90 S. Ct. 1598, 1608, 26 L.Ed.2d 142, 154 (1970).




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                                            ARGUMENT

I.     PLAINTIFFS FAIL TO PROPERLY PLEAD AND PROVE A STATUTORY
       VIOLATION AGAINST HERBERT GREENWALD SUBJECTING HIM TO
       INDIVIDUAL LIABILITY. ACCORDINGLY, THE MOTION FOR SUMMARY
       JUDGMENT AGAINST HIM, INDIVIDUALLY, SHOULD BE DENIED.

        Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a short and plain

statement of the claim showing that the pleader is entitled to relief. Ashcroft v. Iqbal, 556 U.S. 662

129 S. Ct. 1937, 1949 (2009). Although this rule "does not require 'detailed factual allegations,'"

Id. (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955 (2007), "[a] pleading that

'offers labels and conclusions' or 'a formulaic recitation of the elements of a cause of action will not

do.'" Id. (quoting Twombly, 550 U.S. at 555). Nor does a complaint suffice if it is "consisting of

nothing more than 'naked assertion[s]' devoid of 'further factual enhancement.'" Walton v. Walker,

364 Fed.Appx. 256, 258 (7th Cir. 2010); quoting Iqbal, 129 S. Ct. at 1949.

        Here, in Paragraphs 14 and 22 and throughout their Complaint, Plaintiffs allege, in

conclusory fashion and without any factual allegations in support, that both Motel and Greenwald

are their “employers” under the FLSA and the IMWL (Docket No. 1). Plaintiffs, however, fail to

allege any facts that even remotely could result in a finding that Greenwald is their employer, as a

matter of law. These allegations are denied by the Defendants in their Answer and Affirmative

Defenses (Docket No. 13) and in their Amended Answer (Docket No. 15).

        The bottom line is that the Plaintiffs’ Complaint is deficiently pled and is devoid of any

allegations of fact that would permit a finding that Greenwald should be deemed to be the Plaintiffs’

employer, as a matter of law. Due to the deficient pleading, Plaintiffs are not entitled to summary

judgment against Greenwald, individually. Even assuming arguendo that no pleading malady exists,

a point certainly not conceded, the facts support a finding that Greenwald was not an employer of


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the Defendants under the FLSA and IMWL. At a minimum, questions of material fact exist as to

whether or not Greenwald should be deemed to be the Plaintiffs’ employer.

        Courts employ an “economic reality” test to evaluate employer status and consider factors

such as corporate and ownership capacity, the authority to hire and fire employees, supervision and

control over the employees’ work schedules, the conditions of employment, the rate and method of

payment, and the maintenance of employment records. Nehmelman v. Penn Nat. Gaming, Inc., 790

F. Supp. 2d 787, 795 (N.D. Ill. 2011). Courts employing this test have found corporate officers with

significant ownership, operational control over the business, day-to-day control, involvement in
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supervision and payment responsibility to be personally liable for violations of the FLSA.

        The lynchpin among all of the cited cases is that individual liability was found to exist

against those who were corporate officers and/or owners of the subject companies. Here, on the

contrary, it is indisputable that Greenwald is not an owner, shareholder, member, officer or director

of Motel (See the Declaration of Greenwald, ¶ 4, Exhibit A). For that critical reason and as a matter

of law, he can not be held liable for Motel’s alleged violations of the statutes.

        Nor do the facts support a finding of individual liability against Greenwald under the

economic reality test. While, generally speaking, Greenwald oversaw the day-to-day operations of

Motel (a restaurant and bar located in Chicago) and ultimately had the authority to hire and fire



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                 See, e.g., Solis v. Intern. Detective & Protective Service, 819 F. Supp. 2d 740, 749 (N.D.
Ill. 2011)(president and sole owner of company, who was responsible for payroll, accounting and
invoicing, was an employer and was personally liable under the FLSA); Morgan v. SpeakEasy, LLC, 625
F. Supp. 2d 632, 646 (N.D. Ill. 2007)(owner and shareholder of corporation, who had “ultimate authority”
in supervising, hiring, firing, and paying employees, was jointly and severally liable); Harper v. Wilson,
302 F. Supp. 2d 873, 883 (N.D. Ill. 2004)(corporate officers with obligation to pay plaintiff his earned
wages were personally liable); McLauglin v. Lunde Truck Sales, Inc., 714 F. Supp. 920, (N.D. Ill.
1989)(president acting in the direct and indirect interest of corporate defendants was an employer under
the FLSA).

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employees and set schedules, the reality is that he delegated those responsibilities to others. Motel’s

non-kitchen staff, reported directly to Matt Sokol (“Sokol”), the General Manager of the business

(Ex. A, ¶ 6; Declaration of Sokol, ¶ 4, Exhibit B; Sokol deposition excerpt, Exhibit D, p. 11).

       The kitchen staff, at all pertinent times, reported to the kitchen manager, Julio Reynoso

(“Reynoso”)(who is one of the Plaintiffs). All three Plaintiffs were employed in the kitchen of

Motel. Reynoso, as kitchen manager, had the authority to hire and fire kitchen employees, and in

fact, exclusively did all of the hiring and firing. And, Reynoso set the rate of pay for the kitchen

employees and set their schedules. There was a language barrier between Greenwald, Sokol and the

kitchen staff, who spoke mostly Spanish, leading to the complete delegation of supervisory control

over the kitchen staff to Reynoso, who spoke both English and Spanish (Ex. A, ¶¶ 7-9: Ex. B, ¶¶

5-7, Greenwald deposition excerpt, Exhibit C, pp. 33-35, 73, 75).

       Thus, in conclusion, the facts do not support a finding of individual liability against

Greenwald under the economic reality test. He is not an owner nor an officer of Motel. He

delegated supervisory control over the employees to Motel’s managers. The kitchen manager,

Reynoso, determined the rates of pay of the kitchen staff, set their schedules and did all of the hiring

and firing. For those reasons, summary judgment should be denied against Greenwald individually.

At a minimum, questions of material fact exist as to Greenwald’s control over the kitchen

employees, to be determined by the trier of fact, which should preclude summary judgment.

II.    LIQUIDATED DAMAGES SHOULD NOT BE AWARDED AGAINST EITHER
       DEFENDANT AND THEREFORE SHOULD BE DENIED.

       The FLSA provides for liquidated damages in the form of doubling the award for unpaid

overtime compensation. 29 U.S.C. § 216(b). As originally drafted, the FLSA made doubling

mandatory. Overnight Motor Transportation Co. v. Missel, 316 U.S. 572, 581, 62 S. Ct. 1216, 1221,


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86 L.Ed.2d 1682 (1942). However, the 1947 amendment to the Act altered the doubling provision

to make it discretionary. Walton v. United Consumers Club, 786 F.2d 303, 310 (7th Cir. 1986).

       Under Section 11 of the Portal-to-Portal Act, codified at 29 U.S.C. § 260, a court has

“considerable discretion” to decline to double the award where an employer can show that the act

or omission giving rise to the action was in good faith and that he had reasonable grounds for

believing that there was no violation of the FLSA. Walton., 786 F.2d at 308-12. The employer

bears the burden of showing that it acted reasonably and with good faith. Bankston v. State of Ill.,

60 F.3d 1249, 1254 (7th Cir. 1995). Whether an employer’s conduct is in good faith and reasonable

is a mixed question of law and fact. Chao v. Hotel Oasis, Inc., 493 F.3d 26, 35 (1st Cir. 2007).

       Here, liquidated damages should not be awarded against either Motel or Greenwald for the

purported statutory violations. The failures to pay overtime wages to the Plaintiffs were inadvertent,

not willful and not in bad faith, and were caused solely by the rogue and ultra vires actions of the

company’s bookkeeper, Robert Van Bruggen (“Van Bruggen”). Van Bruggen was hired on or about

September 2008 as Motel’s bookkeeper and to run and operate the financial side of Motel’s

business. As part of his job duties, Van Bruggen was responsible to maintain the company’s

employment records, do quarterly tax returns, report to the accountant, do payroll, write payroll and

other checks, distribute payroll checks to the employees, operate the Quick Book accounting

software and prepare and issue W-2s to the employees. He was considered to be a manager of the

business (Ex. A, ¶ 10: Ex. B, ¶ 11, Greenwald depo., Ex.C, pp. 13-14, 26, 35-36, 44, 123, 135).

        Van Bruggen was trusted and was responsible for handling the wage payments for Motel’s

employees, which included payments for overtime (Ex. A, ¶ 11: Ex. B, ¶ 12, Greenwald depo., Ex.

C, pp. 15, 44). Importantly, Greenwald did not have privileges to input numbers into the



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employment data system himself, did not know how to do so and prior to the filing of this lawsuit,

had no knowledge that the employees were not paid overtime (Ex. A, ¶ 12; Greenwald depo., Ex.

C, p. 158).

       Sokol, Motel’s General Manager, testified that he submitted the number of hours worked for

the employees to Van Bruggen, that Van Bruggen calculated the amount due to employees based

on the number of hours Sokol provided, that Van Bruggen was responsible to write checks and pay

the employees their wages including overtime, and that he was to maintain business and employment

records. Sokol further testified that Van Bruggen was the one that developed the dual pay system

requesting that the hours worked by certain employees be separated into two columns, resulting in

those employees being paid partially in cash and partially via check (Ex. B, ¶¶ 12-14, Sokol depo.,

Ex. D, pp. 16, 19, 21, 23, 55, 59-61, 101). Sokol and Greenwald deny having any role in or

knowledge of the dual pay system employed by Van Bruggen (Ex. A, ¶ 13; Ex. B, ¶ 15).

       Van Bruggen, himself, testified at his discovery deposition that he was initially hired because

of a gap in the books of Motel and that he was responsible to resolve that issue. He further testified

that his duties were to keep the books in order, generate reports, do the quarterly payroll and sales

tax returns, communicate and provide figures to the company’s accountant, manage the accounts

payable and payroll, operate the Quick Book accounting software, maintain financial records and

prepare and distribute payroll checks to Motel’s employees. He testified that he was in charge of

Motel’s finances. Importantly, he testified that he was aware of the overtime payment laws, that

overtime wages were not paid to employees, that he was never told by Greenwald or anyone at

Motel not to pay overtime, that Greenwald was not part of the payroll process and that Greenwald

relied upon him to handle the payroll. Van Bruggen further testified that he could not think of a



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reason why he never asked or told anyone about the need to pay for employees’ overtime, but that

he should have done so (Van Bruggen deposition excerpt, Exhibit E, pp. 13-16, 52, 62, 118-121,

123, 131, 133-34, 137).

       Van Bruggen also testified that it was his decision and actions to disguise payments of cash

wages to certain employees in the categories of “advertising” and “promotion” on Motel’s tax

returns. No one at Motel, including Greenwald, requested or authorized that action (Van Bruggen

depo., Ex. E, pp. 91, 94, 121). Later, Van Bruggen sent a package to the Illinois Department of

Revenue claiming that there were financial irregularities occurring at Motel (Ex. E, pp. 154-155).3

       Moreover and importantly, Van Bruggen admitted that he stole two checks from Motel,

wrote two unauthorized checks to himself, stealing $3,000.00 in the process (Van Bruggen depo.,

Ex. E, pp. 145-147, 149). Van Bruggen was arrested by the Chicago Police Department and was

charged with the crime of forgery in issuing and delivering documents, in violation of 720 ILCS

5.0/17-3-A-2, a class 3 Felony, Type F, in case number XX-XXXXXXX, related to the thefts. (Attached

hereto as Exhibit E are copies of the forged checks as well as the felony complaint.) 4

       Not only did Van Bruggen admittedly steal from Motel and fail to pay overtime to its

employees, but in addition, he took other actions to hurt the business and attempted to line his own

pockets in the process. During cross examination at his discovery deposition, Van Bruggen initially

denied both that he attempted to extort money from Greenwald and made overtures attempting to

purchase Motel. After being confronted with a litany of e-mails that he wrote proving that he indeed


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               This unauthorized practice has caused issues for Motel and Greenwald with the Illinois
Department of Revenue, as attested to by Greenwald in his Declaration (Ex. A, ¶ 14-15).
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                Greenwald attests that additional monies were stolen and misappropriated from Motel but
that the accountants for the business are unsure exactly what happened to the money and whether Van
Bruggen was involved (Ex. A, ¶ 17).

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had repeatedly demanded money and attempted to purchase Motel, he acquiesced and admitted those

facts (copies of the e-mails are attached hereto as Exhibit H). Van Bruggen further admitted both

that the purchase price for Motel would be lower if the business was in financial trouble and that he

stood to personally benefit if he did a poor job in his employment, enabling him to attempt to

purchase the Motel at a discount (Van Bruggen depo., Ex. E, pp. 150-152, 160-166, 168).

       Those facts clearly demonstrate that Van Bruggen had ulterior motives to extort money from

Greenwald and line his own pockets, by purchasing Motel at a below market rate, resulting from

doing a poor job in his employment. His poor job performance is evidenced by paying employees

cash in a dual pay system without authorization, failing to pay overtime, hiding cash payments to

employees on the company’s tax returns and notifying the IDOR of alleged wrongdoing at Motel,

that he caused.

       The uncontradicted facts of Van Bruggen’s wrongful and criminal conduct, coupled with the

company’s good faith reliance upon him to handle the financial side of the business, certainly

militate against a finding for liquidated damages under the statutes. The Defendants have adequately

shown a reliance upon Van Bruggen, Motel’s bookkeeper and financial manager, to comply with

the overtime requirements and make requisite payments to the employees. For all of these reasons,

there was no intent to avoid paying overtime. Accordingly, liquidated damages should be denied.

III.   AS THE KITCHEN MANAGER, REYNOSO IS EXEMPT FROM AND CAN NOT
       RECOVER OVERTIME WAGES UNDER THE FLSA AND IMWL.

       The FLSA and IMWL generally require the payment of overtime when an employee works

more than forty hours per week. 29 U.S.C. § 207(a)(1), 820 ILCS 105/1. The statutes parallel each

other and the same analysis generally applies to both statutes. Villareal v. El Chile, Inc., 776 F.

Supp. 3d 778, 784 (N.D. Ill. 2011). There are exceptions, however, to the general rule. Both

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statutes exclude employees working in “a bona fide executive, administrative, or professional

capacity.” 29 U.S.C. § 213(a)(1); 820 ILCS 105/4a(2)(E). Whether an employee is exempt under

the FLSA is primarily a question of fact but the ultimate decision is a question of law.

       An employee is employed in an executive capacity for purposes of the exemption if: (1) he

is “[c]ompensated on a salary basis at a rate of not less than $455 per week;” (2) his “primary duty

is management of the enterprise in which the employee is employed or of a customarily recognized

department of subdivision thereof;” (3) he “customarily and regularly directs the work of two or

more other employees;” and (4) he “has the authority to hire or fire other employees or whose

suggestions and recommendations as to the hiring, firing, advancement, promotion or any other

change of status of other employees are given particular weight.” 29 C.F.R. § 541.100(a).

       The Department of Labor regulations also state that the exempt employees’ duties must

“require the exercise of discretion and independent judgment customarily and regularly, meaning

a frequency greater than occasional but less than constant.” 29 C.F.R. § 541.207(g).

       The regulations address a situation like the one presented here where an employee performs

a combination of exempt and non-exempt duties. Whether an employee is exempt is determined on

a case-by-case basis based on the factors contained in § 541.700. Generally, exempt executives

make the decision regarding when to perform nonexempt duties and remain responsible for the

success or failure of business operations under their management while performing the nonexempt

work. The regulations highlight examples where employees are performing nonexempt work, such

as serving customers, cooking food, etc., and do not lose executive status. 29 C.F.R. § 541.106.

       Finally, the regulations define the term “management” as including interviewing, selecting

and training of employees, setting and adjusting rates of pay and hours of work, directing the work



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of employees, maintaining production or sales records for use in supervision or control, appraising

employees’ productivity and efficiency for the purpose of recommending promotions or other

changes in status, handling employee complaints and grievances, disciplining employees, planning

the work, etc. 29 C.F.R. § 541.102.

        The amount of time expended by an exempt employee in a supervisory or management

capacity is not determinative of whether that employee is exempt or not. Time alone is not the sole

test and there is no requirement, for example, that exempt employees spend more than fifty percent

of their time performing exempt work. 29 C.F.R. § 541.700(b). Rather, the importance of the tasks

is the primary concern. Courts evaluate the relative importance of an employee’s managerial tasks

to the success of a business operation versus the amount of time doing exempt work. Ward v.
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Family Dollar Stores, Inc., 830 F. Supp. 2d 102, 109 (W.D. N.C. 2011).

        Here, it is beyond reasonable dispute that Reynoso acted in an executive capacity and

qualifies as an exempt executive. Reynoso had the authority to hire and fire kitchen employees, and

in fact, did all of the hiring and firing. He is the one that set the rate of pay for the kitchen

employees and set their schedules. He supervised and managed their work. In running the kitchen

and doing all of the hiring and firing, Reynoso was empowered to exercise discretion and

independent judgment in the performance of his duties (Ex. A, ¶¶ 7-8, 20: Ex B, ¶¶ 5-6, Greenwald

depo., Ex. C, pp. 33-35, 73, 75).


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                 See, e.g., Coberly v. Christus Health, 829 F. Supp. 2d 521 (N.D. Tex. 2011)(plaintiff
was deemed an exempt executive because he was responsible for managing the kitchen, planning meals,
procuring food supplies and equipment, the production of meals, directing and supervising staff and work
flow of kitchen personnel, interviewing and recommending the hiring and firing of kitchen staff, had
discretion and exercised independent judgment, etc.); Grace v. Family Dollar Stores, Inc. 637 F.3d
508 (4th Cir. 2011)(plaintiff was performing management duties whenever she was in the store even
though she devoted most of her time (99%) to doing the mundane physical activities necessary for its
successful operation).

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        Moreover, the facts support the conclusion that Reynoso’s management duties were much

more important to the business of Motel than his duties of being a cook. Afterall, he ran the kitchen,

set schedules and supervised and managed all of the kitchen personnel. Even while performing

nonexempt cooking work, he was simultaneously and at all times managing the other kitchen

employees and making sure that the kitchen was being operated properly and smoothly.

        Further, Reynoso supervised many full-time employees at Motel, including but not limited

to the other two Plaintiffs, Luis Gonzalez and Manuel Gonzalez (combined , who worked more than

eighty hours a week, meeting the requirement that an exempt executive supervise a total of eighty
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employee hours a week, 69 Fed.Reg. 22135).            And, from Plaintiffs’ own Exhibit I-3, Reynoso

earned more than $455 per week in nearly every week for the applicable time period.

        Based on the totality of the uncontradicted record, this Court must find that Reynoso is an

exempt employee under both the FLSA and IMWL. At the absolute minimum, questions of material
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fact exist as to whether he is an exempt executive precluded from recovery under the statutes.

IV.     THE PLAINTIFFS ARE ONLY ENTITLED TO TWO YEARS OF DAMAGES
        UNDER THE FLSA, IF ANYTHING, SINCE THEY ARE UNABLE TO ESTABLISH
        A WILLFUL VIOLATION OF THE STATUTE.

        The FLSA’s statute of limitations is two years but can be extended to three years if a Plaintiff

can prove that the violations were “willful.” 29 U.S.C. § 255(a). A violation is considered willful

if the employer knew or recklessly disregarded whether its conduct was prohibited by the FLSA.


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                See ¶ 5 of the Declaration of Manuel Gonzalez and ¶ 5 of the Declaration of Luis
Gonzalez, attached as Exhibits A and B to Plaintiff’s motion for summary judgment.
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                See e.g., Szarynch v. Theis-Gorski Funeral Home, Inc., 957 F. Supp. 132 (N.D. Ill.
1997)(because the extent to which the employee exercised discretion and independent judgment was
contested by the parties, summary judgment was precluded requiring a trial on the issue).


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McLaughlin v. Richland Shoe Co., 486 U.S. 128, 130-33, 108 S. Ct. 1677, 100 L.Ed.2d 115 (1988).

The Plaintiffs bear the burden of proving a willful violation of the statute. Id., 486 U.S. at 133.

        The fact that Congress did not simply extend the limitations period to three years, but instead

adopted a two-tiered statute of limitations, makes it obvious that it intended to draw a significant

distinction between ordinary violations and willful violations. Id., 486 U.S. at 132, 108 S. Ct. at

1681. If an employer acts “reasonably” or even if the employer acted “unreasonably but not

recklessly,” in determining its legal obligation, then those actions are not considered “willful.” Id.,

486 U.S. at 135, n. 13. Absent a showing of evidence establishing an intentional violation of the

statute or recklessness on the part of Motel and/or Greenwald, no willfulness can be found to exist
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justifying the extension of the limitation to three years.

        Defendants opine that the allegations of willfulness pled in the Complaint are woefully

inadequate. The Supreme Court held in Iqbal that conclusory allegations of willfulness are

insufficient. Iqbal, 129 S. Ct. at 1954. Here, Plaintiffs allege, in conclusory fashion, that the

Defendants’ failure to pay overtime wages “was willful and not in good faith.” (Complaint ¶ 18,

Docket No. 1.) They go on to allege that willfulness is established by the fact that “Defendants

instituted a dual pay system to avoid the payment and reporting of hours worked by its employees

in excess of forty (40) per week.” (Id.) Defendants’ Answer and Amended Answer denied the

allegations and affirmatively stated that any failures to pay overtime wages was “inadvertent, not

wilful nor in bad faith.” (Answer and Amended Answer ¶ 18, Dockets No. 13, 15.)




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                   See, e.g., Oakes v. Com. of Pa., 871 F. Supp. 797, 801 (M.D. Pa. 1995)(entering
summary judgment for the employer finding that its conduct was not “willful” under the FLSA where the
Plaintiffs failed to set forth any evidence establishing that the Defendants intentionally violated the FLSA
or that they were reckless in their consideration of its effect).

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       Plaintiffs attempt to prove wilfulness in their brief by pointing to the alleged dual pay system

at Motel coupled with a purported refusal to enable the overtime settings on their payroll software.

(Plaintiffs’ brief, p. 11.) However, Plaintiffs have failed to cite to any document or testimony to

establish that either Motel or Greenwald instituted and/or were responsible for either alleged act.

       Moreover, the facts demonstrate that neither Motel nor Greenwald instituted the dual pay

system or paid cash to the Plaintiffs. With respect to the dual pay system, Defendants categorically

deny that either Motel or Greenwald were responsible for its implementation (Sokol depo., Ex. D,

p. 101; Ex. A, ¶ 13; Ex. B, ¶ 15) and further deny that they refused to enable the overtime settings

on the payroll software (Ex. A, ¶ 18; Ex. B, ¶ 16). The evidence contrarily points solely to Van

Bruggen’s wrongful conduct (supra). Accordingly, there is no basis for a willfulness determination.

The Plaintiffs are entitled to damages, if at all, for two years of purported violations of the FLSA.

At a minimum, questions of material fact exist for determination by the trier of fact at trial.

V.     QUESTIONS OF MATERIAL FACT EXIST AS TO THE AMOUNT DUE THE
       PLAINTIFFS FOR OVERTIME WAGES, PRECLUDING THE ENTRY OF
       SUMMARY JUDGMENT.

       In their motion, Plaintiffs claim that compensatory damages are due for unpaid overtime, as

follows: (1) for Julio Reynoso in the amount of $16,736.72; (2) for Manuel Gonzalez in the amount

of $5,260.00; and (3) for Luis Gonzalez in the amount of $23,226.78 (Docket No. 23). Defendants

admit that overtime was not paid to the Plaintiffs due to the wrongful actions of Motel’s former

employee, Van Bruggen. However, Defendants contest the amount claimed due.

       Defendants have conducted an analysis of the hours worked by the three Plaintiffs and have

calculated the amount of overtime that is due. For Reynoso, Defendants state that he is due




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$1,325.35 for overtime, if at all.       Defendants state that Manuel Gonzalez is due $4,975.00 and that

Luis Gonzalez is due $9,647.00 (see the overtime spreadsheet attached as Exhibit G; see also ¶¶ 18-

19 of the Declaration of Sokol, Ex. B, indicating how the amounts were determined).

        The parties clearly disagree about the amount due to the Plaintiffs for unpaid overtime.

Since fact issues exist as to the amount of damages, summary judgment should be denied.

                                              CONCLUSION

        For all of the reasons set forth in this response, the Plaintiffs’ motion for summary judgment

should be denied. At a minimum, numerous questions of fact exist which should preclude the entry

of summary judgment requiring that this matter be set for trial.

Dated: August 4, 2014
                                                    Respectfully submitted,

                                                    MOTEL LLC, an Illinois Limited Liability C o m p a n y ,
                                                    d/b/a MOTEL BAR, and HERBERT GREENWALD, an
                                                    individual,

                                                           /s/ Robert J. Shelist
                                                    By:_______________________________________
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                 Defendants contend that no overtime payments are due to Reynoso at all as an exempt
executive employee. Moreover, Reynoso, who worked in the kitchen as a full-time employee of Motel,
also was retained separately to clean the bar and restaurant on a daily basis prior to the opening, and was
paid $250 per week for that service. Reynoso, when doing his cleaning work, clocked into Motel’s
computer payroll system and was wrongfully receiving double payment for his cleaning work (Ex. A, ¶
19; Ex. B, ¶ 17; Ex. C, pp. 37, 41, 43, 130; Ex. D, pp. 36, 38, 67).

                                                      15
                                CERTIFICATE OF SERVICE

        I, Robert J. Shelist, certify that on August 4, 2014 I caused to be filed the foregoing
document with the Clerk of the Court via the CM/ECF system. I further certify that I caused to be
served a true and accurate copy of the foregoing documents upon counsel of record in this case, by
electronic mail.

                                             Respectfully submitted,

                                             MOTEL LLC, an Illinois Limited Liability
                                             Company, d/b/a MOTEL BAR, and HERBERT
                                             GREENWALD, an individual,

                                                   /s/ Robert J. Shelist
                                             By:_______________________________________


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